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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, et al;                   )
                                        )
             Plaintiffs,                )
                                        )
                                        )
v.                                      ) CIVIL ACTION
                                        ) FILE NO: 1:17cv02989-AT
BRIAN P. KEMP, et al.;                  )
                                        )
                                        )
__________Defendants______________      )




      FULTON COUNTY DEFENDANTS’ CLOSING STATEMENT




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       The entire burden to pay for, and administer, the November election falls

upon counties who have no choice but to comply with the election code mandated

voting method. The additional burden of paper ballots, this close to the important

November election, is untenable. Election officials from Cobb, Fulton, Gwinnett,

Muscogee and Richmond County (Doc 265-3, Exh 1-6 and Doc 267, p 31-67)

spoke to the intolerable difficulties inherent in a last minute change. The benefit,

to plaintiffs, is miniscule in comparison. The remedy Plaintiffs seek--to vote a

paper ballot--is already available via absentee ballot. Two plaintiffs have already

taken advantage of this option. (Doc 226, ¶ 154). The one year delay in seeking

an injunction is the best evidence that the status quo does not irreparably harm

Plaintiffs.   Plaintiffs knew, when filing in July 2017, of the November 2018

election. Having previously sought an injunction, and presented expert and lay

testimony in Superior Court in 2017, Plaintiffs were well aware of the hardships

attendant to a last minute change to the state-wide voting process. Plaintiffs’

claims are not unique and neither are their experts’ opinions, as evidenced in the

curricula vitae of those experts. Halderman testified in Stein v. Cortés, 223 F Supp

3d 423, 441 (E.D. Pa. 2016), about the vulnerabilities of DRE machines to

hacking. There is no excuse for the failure to timely seek an injunction. Although

not fatal to their ultimate claim for relief, the unwarranted delay in seeking

emergency relief is fatal to Plaintiffs’ request for a preliminary injunction.


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    Respectfully submitted this 13th day of September, 2018.



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                                         JOHNSON, AND THE FULTON
                                         COUNTY BOARD OF
                                         REGISTRATION & ELECTIONS

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        CERTIFICATE OF COMPLIANCE WITH LR 5.1C, NDGa

      I hereby certify pursuant to LR 7.1D, NDGa that the foregoing document

has been prepared with one of the font and point selections approved by this

Court in LR 5.1C, NDGa, using a 14-point Times New Roman font.

                                   /s/ Kaye Woodard Burwell
                                   Georgia Bar Number: 775060




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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 13, 2018, I electronically filed the

foregoing FULTON COUNTY DEFENDANTS’ CLOSING STATEMENT with

the Clerk of Court using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record as identified in the

Court’s Electronic Mail Notice List.

                                       /s/ Kaye Woodard Burwell
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